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5
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6    __________________________________________________________________
       October 07, 2013

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8
                                  UITED STATES BAKRUPTCY COURT
9
                                            DISTRICT OF EVADA
10
      In re:                                           )       Case No. BK-11-10391-LED
11
                                                       )
12    JOHN E. HARNEY and                               )       Chapter 11
      AIMEE M. HARNEY,                                 )
13                                                     )       DATE: September 3, 2013
                       Debtors in Possession.          )       TIME: 9:15 a.m.
14
                                                       )
15
                           ORDER COFIRMIG PLA OF REORGAIZATIO
16                           OF JOH E. HAREY AD AIMEE M. HAREY
17
               The THIRD AMENDED CHAPTER 11 PLAN OF REORGANIZATION (“Plan”), filed by
18
     John E. Harney and Aimee M. Harney (the “Debtors”), on March 18 2013, as Document Number 146,
19
     and       the   DISCLOSURE      STATEMENT        FOR         THE       THIRD   AMENDED        PLAN   OF
20

21   REORGANIZATION (“Disclosure Statement”), also filed on March 18, 2013, as Document Number

22   147 (the Disclosure Statement having been conditionally approved by Court order, Document Number
23   156) and both the Plan and Disclosure Statement having been transmitted to creditors and parties in
24
     interest; and
25
               It having been determined after hearing on notice that the requirements for confirmation set
26

27
     forth in 11 U.S.C. § 1129 (“Code Section 1129”) have been satisfied, and there being no pending

28   objections to confirmation, and that the requirements for disclosure statement approval have been

     satisfied;

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1            IT IS ORDERED that:
2
             The    DISCLOSURE         STATEMENT        FOR       THE   THRID    AMENDED         PLAN     OF
3
     REORGANIZATION is APPROVED on a final basis with all conditions met; and
4

5
             The CHAPTER 11 PLAN OF REORGANIZATION, attached hereto as Exhibit “A,” and each

6    of its provisions, apart from those provisions which might be modified by the present Confirmation

7    Order, shall be and hereby is APPROVED and CONFIRMED. The failure to specifically include any
8
     particular provisions of the Plan in this Confirmation Order shall not diminish or impair the efficacy of
9
     such provisions, it being understood that it is the intent of the Court that the Plan be confirmed and
10
     approved in its entirety; and it is
11

12           Further ORDERED that:

13           The Plan shall be binding upon the Debtors, any entity acquiring or receiving property or a
14
     distribution under the Plan, and any holder of a claim against the Debtors, including all governmental
15
     entities, whether or not the claim or interest of such holder is impaired under the Plan and whether or
16
     not such holder or entity has accepted the Plan; and it is
17

18           Further ORDERED that:

19           The Debtors are authorized to execute, deliver, file or record such contracts, instruments,
20   releases and other agreements or documents and take such action as may be necessary or appropriate
21
     to effectuate, implement, and further evidence the terms and conditions of the Plan. The Debtors,
22
     having fulfilled the requirements and elected the rights of Code Section 1129, are authorized and
23

24
     empowered to issue, execute, deliver, file or record any agreement, documents or security, and to take

25   any action necessary or appropriate to implement, effectuate and consummate the Plan in accordance

26   with its terms, whether or not specifically referred to in the Plan, without further order of this Court,
27
     and any or all such documents shall be accepted by all of the appropriate filing offices and recorded in
28




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1    accordance with applicable state law and shall become effective in accordance with the terms and the
2
     provisions of state law; and it is
3
             Further ORDERED that:
4

5
             This Confirmation Order shall constitute all approval and consent required, if any, by the laws,

6    rules or regulations of any state or any other governmental authority with respect to the

7    implementation or consummation of the Plan and any documents, instruments or agreements, and any
8
     amendments or modifications thereto, and any other acts referred to in or contemplated by the Plan.
9
             DATED this 4th day of October, 2013.
10
     Respectfully submitted,
11

12   /s/ David A. Riggi, Esq.
     David A. Riggi, Esq.
13   Bar No. 4727
     5550 Painted Mirage Road, Suite 120
14
     Las Vegas, Nevada 89149
15   Telephone: (702) 463-7777
     Facsimile: (888) 306-7157
16   Attorney for the Debtors in Possession
17

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1                                   ALTERATIVE METHOD RE: RULE 9021
2

3    In accordance with LR 9021, counsel submitting this document certifies that the order accurately reflects the
     court's ruling and that (check one):
4         The court has waived the requirement set forth in LR 9021(b)(1).
      x No party appeared at the hearing or filed an objection to the motion.
5         I have delivered a copy of this proposed order to all counsel who appeared at the hearing, and any
     unrepresented parties who appeared at the hearing, and each has approved or disapproved the order or failed
6    to respond, as indicated below [list each party and whether the party has approved, disapproved, or failed to
     respond to the document]:
7    ___ I certify that this is a case under Chapter 7 or 13, that I have served a copy of this order with the motion
     pursuant to LR 9014(g), and that no party has objected to the form or content of the order.
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David A. Riggi, Esq.
5550 Painted Mirage Rd. Suite 120
Las Vegas, NV 89149
Ph.: 1-702-463-7777
Fax.: 1-888-306-7157
E-mail: riggilaw@gmail.com
Attorney for the Debtors in Possession



                       UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEVADA


In re:                                              ) Case No.: 11-10391-BAM
                                                    )
JOHN E. HARNEY IV and                               ) Chapter 11
                                                    )
AIMEE M. HARNEY,                                    )
                                                    )
                         Debtors in Possession      )
                                                    )


                  THIRD AMENDED PLAN OF REORGANIZATION FOR
                    JOHN E. HARNEY IV AND AIMEE M. HARNEY

         The Debtors, John E. Harney IV and Aimee M. Harney (herein "Debtors in Possession” and/ or

“Debtors"), propose the following Plan of Reorganization (herein "Plan").

                                  BRIEF SUMMARY OF PLAN

         The Plan, as proposed by the Debtors, is based on: (1) obtaining a loan modification on the first

mortgage on their residence; (2) disallowing of secured status for a second mortgage on their residence;

(3) surrendering of an investment property; (4) modifying the treatment of the Nevada Department of

Taxation claim; (5) satisfaction of administrative expenses or priority debts, claims or expenses; and (6)

a partial payment to unsecured creditors.




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                                            ARTICLE I
                                           DEFINITIONS

        The following terms when used in the Plan shall, unless the context otherwise requires, have the

following meaning respectively:


               ADMINISTRATIVE CLAIM and ADMINISTRATIVE EXPENSE CLAIM: A

Claim Allowed under §503(b) of the Bankruptcy Code that is entitled to priority under §507(a)(2) of

the Bankruptcy Code, including, without limitation, (a) any actual and necessary costs and expenses of

preserving the Estate or administering the Chapter 11 Case as authorized and approved by a Final

Order, (b) any actual and necessary costs and expenses incurred in the ordinary course of the Debtors’

business, (c) fees and expenses of Professionals to the extent Allowed by Final Order under §§330,

331, or 503 of the Bankruptcy Code, and (d) all fees and charges assessed against the Estate pursuant

to 28 U.S.C. §1930.


               ALLOWED CLAIM: A claim (a) in respect to which a Proof of Claim has been filed

with the Bankruptcy Court within the applicable period of limitation or (b) scheduled in the list of

creditors and filed with the Bankruptcy Court in the case and not listed as disputed, contingent, or

unliquidated as to amount, in either case as to which no objection to the allowance thereof has been

interposed within any applicable period of limitation or an order to the Bankruptcy Court, or as to which

any such objection has been determined by an order or judgment, which order or judgment is not subject to

any stay of the effect thereof. Certain claims not listed in the Debtors’ bankruptcy schedules as

disputed, contingent, or unliquidated as to amounts may be objected to by Debtors because of a

change in circumstances or because of additional information made available to debtors or their

counsel. All claims will be determined by Bankruptcy Court order to be allowed or disallowed.


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                BANKRUPTCY CODE: Title 11, United States Code.

                BANKRUPTCY COURT: The United States Bankruptcy Court for the District

of Nevada, the Honorable Bruce A. Markell, Judge, acting in this case.

                CHAPTER 11: Chapter 11, Title 11, United States Code.

                CLAIM: Any right to payment, or right to an equitable remedy for breach of performance

if such breach gives rise to a right of payment, against the Debtors in existence on or as of the date of the

petition, whether or not such right to payment or right to an equitable remedy is reduced to judgment,

liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal, secured or

unsecured.


                CLASS: Any class into which Allowed Claims are classified pursuant to

Article II.

                CONFIRMATION DATE: Confirmation date shall be the date upon which the order

confirming the Debtors’ Plan of Reorganization is entered by the Bankruptcy Court for the District of

Nevada.


                COURT: Court shall mean the United States Bankruptcy Court for the District of

Nevada, including the United States Bankruptcy Judge presiding in the Bankruptcy Case of the debtors.

                CREDITOR: Holder of a Claim against the Debtors.

                DATE OF THE PETITION: January 11, 2011.

                DEBTORS: John E. Harney IV and Aimee M. Harney.

                EFFECTIVE DATE: The first day of the first calendar month following the entry of

order of the Bankruptcy Court of the District of Nevada confirming this Plan.

                INVESTMENT PROPERTY: All real property owned by the Debtors, other

than their primary residence.

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                 IRS: Internal Revenue Service.

                 PLAN RATE: Shall mean an interest rate on an Allowed Claim that is simple interest on

the principal sum due at the rate of four and a half percent (4.5%) per annum.

                 PROPERTY:           The term will be used only within the context of a clear

referential indication of a particular piece of real estate.


                 PRO RATA: With respect to any holder of an unsecured proof of claim, the manner of

payment in which any particular creditor holding an unsecured claim shall be paid the same proportion that

the amount of such claim bears to the aggregate amount of the claims in the particular Class.

                 PRIORITY CLAIM: Any and all Claims (or portions thereof), if any, entitled

to priority under §507(a) of the Bankruptcy Code other than Priority Tax Claims and

Administrative Expense Claims.


                 REORGANIZATION CASE: The case of reorganization of the Debtors

commenced by voluntary petition under Chapter 11 on January 11, 2011, and now pending in the

Bankruptcy Court as case no. 11-10391-BAM.

                 RULES: The Federal Rules of Bankruptcy Procedure, as amended, and the Local Rules

of Bankruptcy Procedure as adopted by the Bankruptcy Court.

                 SECURED CLAIMS: An allowed claim of a creditor, secured by a lien on property

of the Debtors, which claim existed on the date of the filing of the petition or which was authorized by the

Bankruptcy Court thereafter to the extent that such claim is not greater than the value of the Debtors’

property on which the Bankruptcy Court finds a valid security interest for such claim is held.




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                                         ARTICLE II

  CLASSIFICATION AND TREATMENT OF CLAIMS WITH RIGHTS TO VOTE,
                              AND
                  DESIGNATION AS TO IMPAIRMENT

ALL CLAIMS ARE SUBJECT TO BEING OBJECTED TO. THE DEBTORS
RESERVE THE RIGHT TO REQUEST THAT ANY FUNDS PAID
PURSUANT TO THIS PLAN BE HELD IN TRUST, PENDING
RESOLUTION OF ANY CLAIMS, OR OTHER LITIGATION.

              For the purposes of this Plan of Reorganization the creditors of the Debtors shall

be classified into the following categories, all of which, except Class Four and

Administrative Expenses, are impaired:


CLASS ONE – FEDERAL NATIONAL MORTGAGE ASSOCIATION, BY AND

THROUGH ITS SERVICING AGENT SETERUS, INC., FIRST MORTGAGE

CLAIM (POC #5) AGAINST 7430 Bachelors Button Drive – This first mortgage shall be

impaired through a loan modification with monthly payments of $1627.54 per month which

began on March 1, 2013 on shall continue for a total of 483 months. These payments include

escrowed amounts for property taxes and insurance. The loan modification is evidenced

through the “Mediation Statement and Agreement,” which is attached as Exhibit “D” to the

Disclosure Statement for this Third Amended Plan.


CLASS TWO –– JP MORGAN CHASE BANK SECOND MORTGAGE CLAIM

(POC #6) AGAINST 7430 Bachelors Button Drive – This second mortgage shall be

“stripped-off” of the property, converting this creditor’s claim into an unsecured claim.




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CLASS THREE –– MARTIN KEOUGH FIRST MORTGAGE CLAIM (NO POC)

AGAINST 4842 Camino Hermoso – The property shall be surrendered. Any deficiency

shall be a general unsecured debt.


CLASS FOUR BANK OF AMERICA CLAIM (POC#2) AGAINST 2007 Land Rover

LR4 – This claim shall be unimpaired with normal payments of $496.71 pursuant to the

original note and deed of trust.


CLASS FIVE – NEVADA DEPARTMENT OF TAXATION CLAIM (POC#4)- This

secured claim, based on proof of claim #4, in the total amount of $20,198.14 shall be

satisfied in compliance with NRS 360.400 and NRS 360.417, at 9 percent interest, through

monthly payments of $754.36 beginning on the effective date of the Plan and shall

continue until satisfied, but in any event, the claim shall be fully satisfied no later than

January 10, 2016.


CLASS SIX - UNSECURED CREDITORS - All unsecured creditors having filed proofs of claims,

or deemed to have filed proof of claims, that are not disputed, contingent or unliquidated, shall be

paid, pro rata, $250.00 a month commencing of the effective date of the plan, as adjusted by any

distributions to administrative expenses, and continuing for 60 months or complete satisfaction of all

valid claims, whichever is earlier, with such distributions.




                                            ARTICLE III
    TREATMENT OF UNCLASSIFIED CLAIMS WITHOUT RIGHTS TO VOTE


UNCLASSIFIED CLAIMANTS – ADMINISTRATIVE EXPENSE CLAIMS.                                These claimants



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shall be comprised of the quarterly fees due to the United States Trustee and any fees and costs for

Professionals. The claims of the United States Trustee shall be paid in full on or before the Effective Date of

the Plan.   The claims of Professionals shall also be included as administrative expenses and, as with other

claims in this category may be satisfied from distributions to unsecured creditors.


                                               ARTICLE IV
                      IMPLEMENTATION OF PLAN DISBURSEMENTS

                 Before the effective date of the Plan, the Debtors shall retain a disbursement

agent (the “Disbursement Agent”). Except as otherwise provided in the Plan, upon

confirmation, the Debtors shall begin making monthly payments of $250.00 to the

Disbursement Agent under the Plan. The Disbursement Agent shall begin, as soon as

practical, making pro rata payments to the Debtors’ unsecured creditors holding allowed

claims on a quarterly basis, until such claims are paid as set forth in the Plan, and as possibly

adjusted by administrative expenses.

                                                ARTICLE V

             DISCHARGE OF DEBTOR AND EFFECT OF CONFIRMATION

        Unless after notice and a hearing, and the Court orders otherwise for cause,

confirmation of this Plan does not discharge any debt provided for in this Plan until the

Court grants a discharge on completion of all payments under this Plan.



                                                ARTICLE V
                        EVENTS OF DEFAULT AND ACCELERATION


                 EVENTS OF DEFAULT: The occurrence of any of the following shall
constitute an event of default under the Plan.



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                   (a) FAILURE TO MAKE PAYMENTS: Failure on the part of the reorganized

debtors to pay fully within thirty (30) days when due and payment required to be made in respect of the
Plan on or after the Consummation Date;

                   (b) FAILURE TO PERFORM NEGATIVE COVENANTS: Failure on the

part of the debtors to perform or observe any negative term or provision as set forth in Article IV of the
Plan, which failure remains uncured for a period of thirty (30) days after notice of such default;

                   (c) FAILURE TO PERFORM OTHER TERMS AND PROVISIONS:

Failure on the part of the debtors to perform or observe any other term or provision of the Plan other than
those set forth in Paragraphs (a) and (b) above of this section, which failure remains uncured for a period of

sixty (60) days after notice of such default;

                   (d) VOLUNTARY BANKRUPTCY CASES, ETC.: Debtors shall generally not

pay their debts as they become due or shall admit in writing their inability to pay their debts, or shall make

a general assignment for the benefit of creditors; or debtors shall commence any case proceeding or other

actions seeking to have an order for relief entered on their behalf as debtors or to adjudicate itself as

bankrupt or insolvent, or seeking reorganization, arrangement, adjustment, liquidation, dissolution or

composition of any of their debts under the Code or any other law relating to bankruptcy, insolvency,

reorganization or relief of debtor or seeking appointment of a receiver, trustee, custodian or other

similar official for it's or for any substantial part of it's property;

                  (e) INVOLUNTARY BANKRUPTCY CASES: Any case, proceeding or other

action against debtor shall commence seeking to have an order for relief entered against it as debtors or

to adjudicate it as bankrupt or insolvent, or composition of their debts under the Code or any other law

relating to bankruptcy, insolvency, reorganization or relief of debtors, or seeking appointment of

receiver, trustee, custodian or other official for it or for all or any substantial part of their property, and in

such case, proceeding or other action (i) results in such an adjudication, the entry of such an order for relief


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or such appointment, which is not fully stated, (ii) shall not be contested by debtors through

appropriate proceedings procedures within twenty (20) days of commencement thereof or shall be

acquiesced in by debtors, or (iii) shall remain undismissed for a period of One Hundred Eighty (180)

days.



                                              ARTICLE VII
                                 RETENTION OF JURISDICTION

                  The Bankruptcy Court shall retain jurisdiction of this case until the last day of the first

full fiscal quarter following the quarter in which the effective date falls at which time an order of the

Bankruptcy Court shall be entered concluding and terminating this case effective on said day unless the

debtors or any interested party shall be prior to that date move the court to retain jurisdiction for a longer

period of time.


                  During such time as the Bankruptcy Court retains jurisdiction, said jurisdiction will be

deemed to include jurisdiction to hear and determine all claims against the debtors or the bankruptcy

estate and to enforce all causes of action that may be owned by the debtors or the bankruptcy estate and to

contest any claims and to hear the objection to any claims posed by the debtor or other interested party.


                                                 ARTICLE VIII
                      PROCEDURES FOR RESOLVING DISPUTED CLAIMS

        Objections to Claims must be filed with the Bankruptcy Court and served upon the

holders of each of the Claims to which objections are made on or before thirty (30) days after the

Effective Date.


        Notwithstanding any other provision of this Plan, Distributions shall not be made with


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 respect to Disputed Claims unless such Disputed Claim has been resolved and such Disputed

 Claim has become an Allowed Claim no later than 6 months after the Effective Date of

 the Plan.


         Unless otherwise provided in a Final Order of the Bankruptcy Court, any Claim on

 account of which a proof of claim is required by Bankruptcy Rule 3003(c)(2) and which is filed

 after the Bar Date shall be deemed disallowed. The holder of a Claim which is disallowed

 shallnot receive any Distribution on account of such Claim.


                                              ARTICLE IX
             PROVISIONS FOR ASSUMPTION OF EXECUTORY CONTRACTS

                 All contracts which exist between Debtors and any individual entity whether such

 contracts be in writing or oral, which have not heretofore been rejected or heretofore been approved by

 Orders of this Court are hereby specifically assumed.


                                               ARTICLE X
                                          MISCELLANEOUS

                  1. HEADINGS: The headings in the Plan are for convenience of reference only and

 shall not limit or otherwise affect the meanings hereof.


                  2.   NOTICES: All notices required or permitted to be made in accordance with the

 Plan shall be in writing and shall be transmitted by facsimile transmission to 1-888-306-7517, by e-mail to

 RiggiLaw@gmail.com, and mailed by registered or certified mail, return receipt requested:


                  A. If to the debtors, to David A. Riggi, Esq., 5550 Painted Mirage Road, Suite

 120, Las Vegas, NV 89149;



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                  B. If to a holder of an allowed claim or allowed interest, at the address set forth in it’s

 allowed Proof of Claim or proof of interest or, if none, at its' address set forth in the schedule prepared

 and filed with the Court; and,


                  C. Notice to the debtors shall be deemed given when received. Notice to any holder

 shall be deemed given when delivered or mailed. Any person may change the address at

 which it is to receive notices under the Plan by sending written notice pursuant to the

 provisions of this section to the person or entity to be charged with the knowledge of such

 change.


                 3. RESERVATION OF RIGHTS: Neither the filing of this Plan nor the

 Disclosure Statement, nor any statement or provision contained herein or therein, nor the taking

 by any creditor of an action with respect to this Plan: (a) Shall be or be deemed an admission

 against interest; nor, (b) Prior to the Confirmation Date, be or be deemed to be a waiver of

 any rights which any creditor might have against the debtors or any of their properties

 specifically reserved. In the event substantial consummation of the Plan does not occur,

 neither this Plan nor any statement contained herein or in the Disclosure Statement, may be

 used or relief upon in any manner in any suit, action, proceeding or controversy within or

 outside of the Reorganization Case involving debtor.


                 4. PAYMENT OF STATUTORY FEES: All fees payable pursuant to §

 1930 of Title 28 of the United States Code, as determined by the Bankruptcy Court at the

 Confirmation Hearing, shall be paid on or before the Effective Date.


                 5. GOVERNING LAW: Except to the extent that the Bankruptcy Code is

 applicable, the rights and obligations arising under this Plan shall be governed by, and


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 construed and enforced in accordance with, the internal laws of the State of Nevada.


                6. SUCCESSORS AND ASSIGNS: The rights and obligations of any person

 named or referred to in this Plan shall be binding upon, and shall inure to the benefit of, the

 successors and assigns of such person.


                7. SEVERABILITY: Wherever possible, each provision of this Plan shall be

 interpreted in such manner as to be effective and valid under applicable law, but if any

 provision of this Plan shall be prohibited by or invalid under applicable law, such provision

 shall be ineffective to the extent of such prohibition or invalidity, without invalidating the

 remainder of such provision or the remaining provisions of this Plan. Furthermore, if the

 Bankruptcy Court will not confirm this Plan because one or more provisions hereof are

 determined to be prohibited or invalid under applicable law, the Proponents may seek

 permission of the Bankruptcy Court to amend this Plan by deleting the offending provision.

        8. PRESERVATION OF RIGHTS. Notwithstanding any provision of this Plan, the

 Debtors specifically preserve their respective rights to object, complain against, or otherwise

 affect the claims that are part of this Plan. Debtors must commence the exercise of their

 rights no later than 60 days after the Effective Date of the Plan.

                Dated this 18th day of March, 2013.



 Respectfully submitted,
 /s/ John E. Harney IV_________                /s/Aimee M. Harney______________
 Debtor in Possession                          Debtor in Possession



 /s/ David A. Riggi_______________
 Attorney for the Debtors in Possession


                                                 12
